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                                     UNITED STATES DISTRICT COURT

                                  NORTHERN DISTRICT OF CALIFORNIA

                                             OAKLAND DIVISION



 LARRY GOLDEN,                             )                  Case No. 4:22-cv-05246-HSG
                                           )
    Plaintiff,                             )                  CERTIFICATE OF SERVICE
                                           )
 v.                                        )
                                           )
 GOOGLE LLC,                               )
                                           )
    Defendant.                             )
 _________________________________________ )




                                                                                   Case No. 4:22-cv-05246-HSG
_____________________________________________________________________________________________________________
  ___________________________________________________________________________________________________________________
                                                                                       CERTIFICATE OF SERVICE
            Case 4:22-cv-05246-HSG Document 51 Filed 10/10/23 Page 2 of 2


 I, Virginia G. Kain, certify as follows under 28 U.S.C. § 1746:

          I am an attorney at Warren Kash Warren LLP and admitted to practice before this Court. My

 business address is 2261 Market Street, No. 606, San Francisco, California, 94114. On October 10,

 2023, I served the Opposition to Plaintiff’s Motion for Leave to File Surreply by Defendant Google LLC

 and the Proposed Order Denying Plaintiff’s Motion for Leave to File Surreply in Opposition to

 Defendant’s Reply to Motion to Dismiss Plaintiff’s Amended Complaint by Defendant Google LLC on

 the plaintiff by First Class Mail at the following address:
          Larry Golden
          740 Woodruff Road, No. 1102
          Greenville, South Carolina, 29607
 by placing it in a sealed envelope with postage paid and placing the envelope in the exclusive custody of

 the United States Postal Service.

          On the same day, I also sent a courtesy copy of the foregoing document by electronic mail to Mr.

 Golden at atpg-tech@charter.net.

          I certify under penalty of perjury that the foregoing is true and correct. Executed on October 10,

 2023, at San Francisco, California.

                                                      _______________________________________
                                                      Virginia G. Kain




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_____________________________________________________________________________________________________________
  ___________________________________________________________________________________________________________________
                                                                                       CERTIFICATE OF SERVICE
